Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page1 of 66




                  EXHIBITA
         Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page2 of 66




                                NEWMAN & MARCUS                            Jm2320Ve
                                  A LAW CORPORATION

 EDWARD W. NEWMAN                       331 Capitola Avenue              Telephone: (831)476-6622
 HOWARD S. MARCUS (1941-1998)                     Suite K                Telefax:   (831) 476-1422
                                        Capitola, California 95010

                                                                                   Edward@nmcllp.com


                                        January21, 2014



 Michael Barnes
 SNR Denton US LLP
 525 Market Street, 26tl~ Floor
 San Francisco, California 94105-2708


        Re:     Claim No. 027 838 327 8 NEL
                Insureds: Mark M. Daniels and Jenny K. Daniels
                Action:      Daniels v. Allstate Insurance Company, ci aL
                             Santa Cruz County Superior Court Case No. CV 178512


Dear Mr. Barnes:

In accordance with your email, I am enclosing a copy of the filed Summons and Complaint in the
above-entitled action, together with a Notice and Acknowledgment of Receipt. Please sign and
return the Notice and Acknowledgment in the envelope provide. Thank you for your courtesy.

Sincerely,



EDWARD W. NEWMAN
Attorney at Law


EWN: djs
Enclosures
                        Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page3 of 66


                                                                                                                                                       POS-015
     ATTORNEY OR PARTY XMTHOuT ATTORNEY (Name, State Bar numbe, and address):                                                      FOR COURT USE ONLY
     Edward W. Newman, SB 45688
     Newman & Marcus, a Law Corporation
     331 Capitola Avenue, Ste. K
     Capitola, California 95010
            TELEPHONE NO,: 831-476-6622                                 FM NO. (Optional):
     E-MAIL ADDRESS (Op&bnaQ:
         ATTORNEY FOR (Name):   Jenny K. Daniels, Mark M. Daniels

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Cruz
         STREET ADDRESS: 701 Ocean Street
         MAILING ADDRESS: same
        CITY AND ZIP CODE: Santa Cruz, California 95060
                 B~4NCH NAME: Santa Cruz



         PLAINTIFF/PETITIONER: Jenny          K. Daniels, et al.
     DEFENDANT/RESPONDENT: Allstate Insurance Company, et al.
                                                                                                                          CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                      I            C15CV178512


 TO (insert name of party being senied):Michael Barnes, Esg. on behalf of Allstate Insurance Company

                                                                   NOTICE
     The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.
     Date of mailing: January        21, 2014

    EDWARD W. NEWMAN. ESO.                                                                    ~   ________________________

                                   (TYPE OR PRINT NAME)                                            (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                              ACKNOWLEDGMENT OF RECEIPT
     This acknowledges receipt of (to be completed by sender before mailing):
     1. /      A copy of the summons and of the complaint
     2. ~ Other (specify):
                   Second copy of the Notice and Acknowledgment of Receipt-Civil; Case Management Information
                   and Setting; ADR Information Package; self-addressed, stamped envelope to Newman and
                   Marcus, a Law Corporation

    (To be completed by recipient):

    Date this    form is signed:




                (TYPE OR PRINT YOUR ~LAME AND NAME OF ENTITY, IF ANY,                           (SIGNATURE OF PERSON AcKNOW.EOGING RECEIPT, WTH TITLE IF
                       ON W-105E BEHALF THIS FORM IS SIGNED)                                 AcKNOWIOGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)



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                                                                                                                                                  P03-015
     ATTORNEY OR PARTY ~4THOUT ATTORNEY (Name, Slate Bar number, and addmss):                                                   FOR COURT USE ONLY
      Edward W. Newman, SB 45688
      Newman & Marcus, a Law Corporation
      331 Capitola Avenue, Ste. K
      Capitola, California 95010
             TELEPHONE NO.: 831-476-6622                              FAX NO. (OpUcnaO:
      E-MAIL ADDRESS (Optional):
         ATTORNEY FOR (Name):      Jenny K, Daniels, Mark M. Daniels

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Cruz
              STREETADDRESS:   701 Ocean Street
              MAILING ADDRESS: same
             CITY ANOZIP CODE: Santa Cruz, California 95060
                 BRANCH NAME: Santa Cruz



         PLAINTIFF/PETITIONER:          Jenny K. Daniels, et al.
     DEFENDANT/RESPONDENT: Allstate Insurance Company, et al.

                                                                                                                      CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                                CISCVI7S5I2


  TO (insert name of party being served): Michael Barnes, Esg. on behalf of Allstate Insurance Company


                                                                   NOTICE
     The Summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law,
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons, If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.
     Date of mailing:January 21,2014

    EDWARD W. NEWMAN, ESO.                                                                 ~______________________

                                     (TYPE OR PRINT NAME)                                       (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)


                                             ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    1,   rn   A copy of the summons and of the complaint
    2. ~ Other(specifr):
                  Second copy of the Notice and Acknowledgment of Receipt-Civil; Case Management Information
                  and Setting; ADR Information Package; self-addressed, stamped envelope to Newman and
                  Marcus, a Law Corporation

    (To be completed by recipient):

    Date this form is signed:


               (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                          (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WTH TITLE IF
                      ON WHOSE BEHALF THIS FORM IS SIGNED)                                ACKNOWLEDGMENT Is MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




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                                                                                                                                                           SUM-I 00
                                            SUMMONS                                                                            FOR COURTU$E ONLy
                                                                                                                           (SOLO PAPA (ISO CE LA COnE)
                       (CITACION JUDICIAL)
   NOTICE TO DEFENDANT:
   (A VISO AL DEMANDADO):
   Allstate Insurance Company, an Illinois corporation, and DOES 1
   through 25, inclusive
   YOUARE BEING SUED BY PLAINTIFF’                                                                                       JAN16 2014
   (Ui ESTA DEMANDANDO EL DEMANDANTE):                                                                       t~ CALVO, CLERK
   Jenny K. Daniels and Mark M. Daniels                                                                      E~~AEj+A                ~
    NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your writt~n response must be in proper legal form if you want the court to hear your
     case, There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
     Online Self-Help center (www.courtinfo.ca.govfse/melp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
    may be taken without further warning from the court.
        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an aft orney
    referral service, If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
    these nonprofit groups at the California Legal Services Web site (www.lawhelpcaufomfa.org) the California Courts Online Self-Help Center
    (vvww.coudfnfo.ca.goy/sefftelp) or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
    costs on any settlement or arbitration award of $10,000 or more in a civil case. The court’s lien must be paid before the court will dismiss the case.
   IA V/SO! Lo han demandado. Si no responde den/ro de 30 dias, is code puede decidir en su contra sin escuchar su version. Lea Ia informacion a
   Contlnuacion.
       Tlene 30 DJAS DE CALENDARIQ despues do quo to en/reguen es/a ci/aciOn y papeles legates pars presentar una respuesta ,00r esc#to en es/a
  code y ha cop quo so en/regue una copia al demandante. Una carts o. una ilamada tote fOnica no lo pro/cgen. Su respuesta por escrito tiene que es/ar
  en formato legal colrecto si desea quo procesen su caso en Ia code. Es posible quo hays un form ulario quo us/ed pueda usarpara su respuesta.
  Puede enconfrar es/os forrnularios do Ia code y mâs informaclOn en el Centro do Ayuo’a de las Codes do California (w,Ac.sucorte.ca.gov), en Ia
  biblioteca do byes de su condadoo en is code quo to quede més coma. Si no puede pagar Ia cuota do presents clan, pida at secretarbo do ía code
  quo to dé un forrnulado de oxen cion de pago do cuotas. SI no presenta su respuesta a tiempo, puede perder el caso por incumphmlento y Ia code be
  podia quitar su sue/do, dinero y bbenes sin màs advertencia.
      Hay 0/ms roquisitos legales. Es recomendable quo flame a un abogado inmediatamente, Si no conoce a un abogado, puede ilamar a un serviclo do
  rernisiOn a abogados. Si no pueda pagar a unabogado, es posible quo curnpla con los requlsitos pam obtener servicios legates gm/ui/os de un
  programa do se,vicios toga/es sin fines do lucro. Puede encontrar estos grupos sin fines do lucro en at sitio web do California Legal Services,
        MlawheIpcalifornia,org), en el Centro do Ayuda do las Codes do California, (~v.sucorte.ca,gov) 0 poniendose on contacto con Ia code 0 el
  coleglo do abogados locales. A VISO: Por fey, Ia code tiene derecho a rec/amar /as cuotas y los costos oxen/os por imponor un gravamen sobre
  cualquierrecuperacion do $10,000 6 mas do valor rocibida modlan/e un acuerdo 0 una concesiOn do arbitrajo en un caso do derecho civil. Tiene que
  pagar of gravanlop do Ia code an/es de quo Ia code pueda desechar el caso.
The flame and address of the court is:
(El nombre y direccion de Ia code es):
                                                                                                            ~A5E NuMBER:
                                                                                                            (NOmoro dot Cow):   CV 1 7 8           o    1 2
 Santa Cruz County Superior Court, 701 Ocean Street, Santa Cruz,
 California 95060
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombro, ía dfrecciOn ye! nümero do toléfono del abogado del demandanto, 0 del demandante quo no f/one abogado, Os):
 Edward W. Newman, SB 45688, 331 Capi4ila Avenue, Ste. K, Capitola, Ca., 95010; (831) 476-6622

~ JAN 162014                                       AI.E{ CAlvo                  fl~L/o)                                 A-tm--c                          (Adjun/)
(For proof of service of this summons, use Proof of Service of Summons (form P 5-01 .)
(Para prueba do entrega de esta citation use el formtilario Proof of Service of Summons, (P03-010)).
 SEAL]                                NOTICE TO THE PERSON SERVED: You are served
                                      1. ~ as an individual defendant.
                                     2.         as the person sued under the fictitious name of (specify):


     •                               3.   0     on behalf of (specify):
                                      -   under: ~ CCP 416.10 (corporation)                                 c        CCP 416.60 (minor)
         •                                       • CCP 416.20 (defunct corporation)                                  CCp 416.70 (conservatee)
                                                 ~ CCP 416.40 (association or partnership) ~                         CCP 416.90 (authorized person)
             •                              C other (specify):
                                     4. ~ by personal delivery on (date):
Form Adoplod far Mandaioiy use                                         SUMMONS                                                   Code of civil Procedure ~ 412.20, 405
  Judicial Council of California                                                                                                                 www.cowilnfo.ca.go,
 suM-loo lRov. July 1.20091
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                              Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page6 of 66




          1
                  EDWARD W. NEWMAN, SB 45688
                  NEWMAN & MARCUS, a Law Corporation
                                                                                              ~ L E
                  331 Capitola Avenue, Ste. K                                                 JAN 16 201’i
      2           Capitola, California 95010
                  (831) 476-6622                                                      ALE~9%~.N9~LE
      3           Facsimile (83 1) 476-1422                                                             RUZ COUNT”

      4          Attorney for Jenny and Mark Daniels

      5

      6

      7

      8                                 IN THE SUPERIOR COURT OF THE STATE OF CALIFOpJ’~JA

                                                   FdR THE COUNTY OF SANTA CRUZ
                JENNY K. DANIELS AND MARK M.                      )
 ~              DANIELS,                                                         cv   178512
                                                                  )   CaseNo.:
 12                       Plaintiffs,

 13                       vs.

 14             ALLSTATE INSURANCE COMPANY, an~ ~
                Illinois corporation, and DOES 1 through 25,
 15             inclusive,                                   )
 16                      Defendants.

 17                                                         —




18
                         Plaintiffs Jenny K. Daniels and Mark M. Daniels allege:
19

                                                        FIRST CAUSE OF ACTION
20                                                      (Breach of Written Contract)

21

22                       1.       Plaintiffs Mark M. Daniels and Jenny K. Daniels, are, and at all times mentioned herein

23             were residents of the County of Santa Cruz, State of California, residing at 123 Ponderosa Drive, Santa

24             Cruz, California, 95060-1013.

25                       2.       Defendant Allstate Insurance Company (“Allstate”) and Does 1 through 5 are, and at all

              times herein mentioned were, corporations doing business and selling insurance policies and servicing

              insurance
              Complaint for Damages
                                                                       1
                           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page7 of 66




          1

               • claims that occur, among other places, in Santa Cruz, California.
          2

          3                3.       The true names and capacities, whether individual, corporate, associate or otherwise, of

          4    Defendants DOES 1 through 5 are unknown to Plaintiffs at this time, and Plaintiffs will ask leave, if

      5        necessary, to amend this complaint to show their true names and capacities when the same have been

      S        ascertained.
      7
                       4.           At all times herein mentioned, each Defendant was the agent, servant or employee of his
      S
               co-defendants, and in doing the things herein complained of, was acting within the scope of such agency
      9
               or employment.
     10
                       5.          On or about September 17, 2012, in Santa Cruz County, California, Allstate issued to•
 11
              Plaintiffs a policy entitled “Allstate Insurance Company Deluxe Homeowners Policy” insuring
 12
              Plaintiffs’ home located at 123 Ponderosa Drive, Santa Cruz, California, 95060-1013, Policy No. 0 67
 13
              064603 09/17. The policy was renewed effective September 17, 2013, and remains in force. A true copy
 14

 15
              of the. policy is attached hereto as Exhibit A.

 16                   6.           Section II of the above-referenced policy is entitled “Family Liability and Guest Medical

 17           Protection” and provides as follows:

 18                             Subject to the terms, conditions and limitations of this policy, Allstate
                                will pay damages which an insured person becomes legally obligated to
19
                                pay because of bodily injury or property damage arising from an
                                occurence to which this policy applies, and is covered by this part of the
20
                                policy.
21
                                 We may investigate or settle any claim or suit for covered damages
22                               against an insured person. If an insured person is sued for these
                                damages, we will provide a defense with counsel of our choice, even if
23                              the allegations are groundless, false or fraudulent. We are not obligated
                                to pay any claim or judgment after we have exhausted our limit of
24                              liability.
25




          complaint for Damages
                                                                       2
                              Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page8 of 66



                              7.       Plaintiffs have performed all conditions, terms and covenants required by said policy to
          1
                  be performed by them, including, but not limited to, payment of the premium as specified in the policy
      2

      3          declarations.

      4                     8.         On or about February 15, 2013, Joyce I Kennedy and Edward P. Kennedy filed an action

      5          against Defendants Jennifer Daniels and Mark Daniels in the Santa Cruz County Superior Court, Case

      6          No. CV176241 for nuisance, declaratory relief, injunctive relief and damages. In their complaint, the
      7
                 Kennedys alleged that they owned real property commonly known as 115 Ponderosa Court, Santa Cruz,
      8
                 California, which is adjacent to the property owned by Plaintiffs. The Kennedys alleged that there was
      9
                a mannade wooden retaining wall and fence on Plaintiffs’ property retaining soil fill, and that the
 10
                retaining wall was in danger of failing due to poor construction and poor condition, which would cause
 11
                a landslide which would inundate the Kennedys’ property with fill soil.
 12
                           9.         In their complaint, Kennedys also alleged that there are two large trees on Plaintiffs’
 13
                property that create substantial safety risk to Plaintiffs’ person and property because of potential trunk
 14

 15
                andlor whole tree failure. The Kennedys sought an order from the Santa Cruz County Superior Court

 16            requiring Defendants to remove the trees and build a new retaining wall designed to the standard of the

 17            industry. Kennedys also that they have suffered and continue to suffer damages, including but not

18             limited to lost use and enjoyment of their property, discomfort, annoyance, and mental and emotional

19             distress.
20
                         10.       Promptly upon being served with the sunmions and complaint in the action filed by the
21
              Kennedys, Plaintiffs sent a copy of the complaint to Defendants, through their duly authorized
22
              representative, along with the request that Allstate undertake the defense of Plaintiffs in the Kennedy
23
              action pursuant to the provisions of their Deluxe Homeowners Policy. A true and correct copy of the
24
              Kennedys’ complaint is attached as Exhibit 8 and incorporated herein by reference.
25
                        11.        Although the facts alleged in the complaint against Plaintiffs and other extrinsic facts

              readily available to Allstate state a claim potentially within the coverage of the insurance policy,

              Complaint for Damages
                                                                          3
                        Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page9 of 66



                 Allstate by letter from an attorney dated March 2~, 2013 notified Plaintiffs that ho defense Would be
          1

          2      provided. A copy of that letter is attached as Exhibit C and incorporated by reference.
                         12.        In refusing to defend the Kennedy action against Plaintiffs, Allstate has failed to perform

      ~         its obligations under the written contract attached hereto as Exhibit A Allstate has breached said

      5         contract by refusing to defend the Kennedy lawsuit despite the existence of facts indicating potential

      6         coverage and by failing toprovide any real ith4stigatioi~ of the matter whatsoever.

                        13.        As a direct and proximate result of Defendants’ refusal to undertake the defense of the
      8         Kennedy action as herein alleged, Plaintiffs were compelled to attempt to represent themselves in the

                Kennedy action and ultimately to incur attorneys’ fees to take over their defense in an amount that will
 10
               be proven at trial, and to incur other costs and expenses. Plaintiffs are entitled to recover these amoulits,
 11
               together with prejudgment interest, attorneys’ fees in this action and other damages as will be proven at
 12
               the time of trial.
 13

 14                                                 SECOND
                                      (Breach of Implied      CAUSE
                                                         Covenant     OF ACTION
                                                                  of Good Faith and Fair Dcaling)

 15

 16                    14.        Plaintiffs reallege and incorporate by reference herein all of the allegations set forth in

 17            Paragraphs I through 13 of this complaint.

18                    15.         In refusing to defend the Kennedy action against Plaintiffs, Allstate breached the

19            covenant of good faith and fair dealing implied in the insurance policy attached as Exhibit A.

20                    16.         As a direct and reasonable foreseeable result of Allstate’s refusal to defend the Kennedy

21            action against Plaintiffs, or even to perform an investigation of the facts of the Kennedy claim, which

22            would have confirmed that the complaint in that action alleged facts potentially within the coverage of

23            the policy, Plaintiffs have suffered damages for amounts they have been required to pay to the

24            Kennedys, for diminution in value to their own property resulting from the judgment issued by the court

25            in the Kennedy action, and for mental and emotional distress and discomfort. The full amount of the




          Complaint for Damages
                                                                      4
                         Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page10 of 66




      1      foregoing damages are not presently known to Plaintiffs who will amend their complaint according to

      2      proof at the time of trial.

      a                   17.      As a direct and proximate result of Defendants’ wrongful failure to provide the benefits

      4      under the policy that Plaintiffs paid for, Plaintiffs have incurred attorneys’ fees in prosecuting this action

      5     to recover those benefits.

      6                  18.      The acts of Allstate as herein alleged were willfUl and malicious in that Allstate’s conduct

     7      was without reasonable justification, and was carried out with a conscious disregard for Plaintiffs’

     8      rights, thereby warranting an award of punitive damages against Allstate in an amount appropriate to

     9      punish Allstate and set an example for others, all in accordance with California Civil Code §3294.

 10                   WHEREFORE, Plaintiffs pray judgment against Defendants, and each of them, as follows:

 11                      1.       For compensatory damages in the amount of attorneys’ fees and costs incurred in the

 12         defense of the Kennedy litigation, in a sum to be determined at the time of trial;

 13                  2.           For compensatory damages in the amount of sums Plaintiffs have had to pay to Kennedys

 14        as a result of the Kennedy action;

15                   3.           For prejudgment interest on the amounts recovered pursuant to the preceding two

16         subparagraphs;

17                   4.           For compensatory damages in an amount equal to the diminution in the value of

18         Plaintiffs’ property resulting from the judgment in the Kennedy action;

19                   5.         For general damages for mental and emotional distress and other incidental damages

20         suffered by Plaintiffs in a sum to be determined at the time of trial;

21                  6.          For punitive and exemplary damages in an amount appropriate to punish or set an

22        example of Defendants’;

23                  7.          For reasonable attorneys’ fees incurred in prosecuting this action;

24                  8.          For costs of suit; and,

25




          Complaint for Damages
                                                                     5
                          Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page11 of 66




         1                9.         For such other and ffirther relief as the court deems just and proper.

      2

                                                                    NEWMAN & MARCUS, a Law Corporation



      :         Dated:         /_,~i_      i>                       _________________



                                                                   EDWARD W. NEWMAN, Attorney for Jenny
      6                                                            and Mark Daniels

      7

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             Complaint for Damages
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page12 of 66




                                             EXHIBIT A
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page13 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page14 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page15 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page16 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page17 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page18 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page19 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page20 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page21 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page22 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page23 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page24 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page25 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page26 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page27 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page28 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page29 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page30 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page31 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page32 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page33 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page34 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page35 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page36 of 66




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Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page37 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page38 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page39 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page40 of 66
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page41 of 66




                                            EXHIBIT B
     Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page42 of 66




       2
             Barr! KaplanBonapart (State BurRo. 120793)
             Bonapart & Mscojqtea
             MarlnaOffioe Plaza
             2330 Marlnship Way SuIte 302
                                                                                   F’          LEr)
       3     Sausalito, California ~4955
             Telephone: (415) 332-3313                                                                 COUNTY
       4     FacsimIle;. (415) 332-4603
       5     Attorneys for PIafi~tlffa
             Joyce I, Kennedy and Edward P. Kennedy

       7

       a                      IN THE SUPERIOR COURT OF TEE STATE OP CALIFOflNL4
       S                                 IN AND FOR TSE COUNTY OF SANTA CRUZ
  10                                         UNL1W~ED CIVIL flJRISDXCTIQN
 ii

 12         JOYCE I, KENNEDY and EDWARD P.                        CaseNo,:       07176241
 £3
            KENNEDY,
                                                                  COMflAJ~r FOR NTJISA≥{ct,
                             Flab                                 DECLARATORY RtLIEF
 14
                                                                  mmNczrwE RELUEF ANi) DAMAGES
                    V.
 15
            JENNIFER DANIELS, MARK DANIELS,
 16         and DOES I through io, Inclusive,
 1.7                         Dqfendan4s’,

 18

19

20         Plaintiffs Joyce I. Kennedy and Edward P. ICennedyQKenncclys”), allege zw fol1cw~:
                                                    TBit PAflS
22                  1,      Plainliffa Joyce L Kennedy and Edward P. IConnedy are the owners of real
23         property commonly known as 115 Ponderoaa Ct, Santa Cruz, Santa C3rwt County, Californft,
24                  2,      PlaintIffi are informed and believe, and on that basis uhlege that defendnntB
25         Jennifer Daniels and Mark Daniels (“Daniels”) are the owners of the real prop~zty commonly

26         known as 123 Ponderoga Drive, Santa Ci’uz, Santa Cruz County California,

27                 3.       PlaintIfig are Ignorant of the th~e names and capacities of the defendants stied
29         herein as Does I through 10, ln±slve, and therefore sues these defendants by such fictitious



           Comp1h~ot For NuIzn,we    -                        I
                 Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page43 of 66




          1     names. Plaintiffs will amend this complaint to allege their true names and oapacities when
          2     ascertained, Plaintiffs are informed and believe and thereon alleges that each of the fictitiously
          3     named defendants is responsible in some manner for the occurrences herein alleged, and that
          4     plaintiffs’ damages as herein alleged were proximately caused by their conduct.
      s                 4,      Plaintiffs are informed and believe, and on that basis allege, that at all times
      6         relevant to this complaint each of the defendants was the agent of each of the remaining
      7         defendants and, doing the things hereinafter alleged, was acting within the course and scope of
      8         this agency, andwith the permission at~d consent of the remaiNng defendants;
      9           .                                 GENERAL ALLEGATION
     10                 5.     The Kennedy property was developed for residential construction in the late
     ii         197Os, and the Kenñedys are the original owners of the residence at 115 Ponderosa Court.
 12                    6.      Defendants Daniels’ property is adjacent to the property owned by the Kennedys.
 13            Both properties are in an area known as the Rolling Wood~ Subdivision,
 14                    7.      The properties share an east-west running property line. Defendants’ property is
 is            to the north and plaintiffs’ property is to the south.
 16                    8,     Along the property boundary, but on the Daniels side bf the property line is a
 17                                                          .   Plaintiffs are informed and believe, and on that
 19            basis allege that the retaining wall is approximately 20 years old and built without permits.
 ‘9                   9.      The land that comprises both properties has a south facing hillside topo~’aphy; a
20             north to south downward slope. The Kennedy property is therefore below the Daniels property
21            in elevationand, because of fill on the Daniels’ property, there is a relatively abrupt and steep
22            change in elevation between the two properties at the location of the retaining wall,
23                    10,     The Kennedys have obtainedreports from Geotechnjcal engineers regarding the            -




24            condition of the retaining wall and the surrounding soil fill, The Kennedys have also obtained a
zs            report from a consulting arborist regarding the conditions of the two trees on the Daniels’
26            property located near the shared boundary iine including one tree that is located on the shared
27            boundary.
28




              ComplnlatporNulsance         .                      2
            Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page44 of 66




                    11.      Plaintiffs are informed and believe; and on that basis allege that in order to obtain
      2     a level backyard on Daniels property, an artificial terrace was formed by placing fill along the
      3     downslope (southern) portion of the property. A man-made, wooden retaining wall was built
      4    along the southern property line to support th~ fill. The retaining wall varies in height frçm
     5.    approximately 2 feet in the western portion to 4 feet in the central and eastern portions of the
     6     wall, The wall consists of 4x6 wood posts with 2x12 wood lagging and has an approxImately 5-
     7     foot high wooden fence atop the retahuing wall, Slopes along the dawnslopeside of the wall
     a     range from 8 to 25-degree inclinations. The retaining wall holds back a substantial amount of fill
     g     soil on the Defendants’ property; Plaintiffs are informed and believe, and on that basis allege
 ic        that if the man-made retaining wall fails due to its poor construction, age and/or damage caused
 ii        by tree roots,   ~                                                                    ~I
 12

 13                12.      In addition to the threat from landslide, there are also two large trees on the
 14        Daniels’ property that create a substantial safety risk to plaintiffs’ person and property because o
 is       potential trunk and/or whole tree failure. An approximately 24-inch diameter fir tree (“Treé-l”)
16         is located at the east end of the retaining wall on the shared boundary line. Another
17         approximately 24-inch diameter fir tree (“Tree-2”) is located approximately 5 feet upslope from
is        the wall in the central portion along the wall,
                   13.      In addition to the two large frees, there is also a living tree stump (Tree-3), which
20        is directly against the retaining wall and located almost entirely on the Kennedy property. While
21        Tree-3 is a stump, it is being kept alive through root grafts with Tree-2, The Kennedys have not
22        removed the stump for concern that it is helping to support the retaining wall.
23                 14.      Tree-i is located at the east-northeast end of the retaining wall near the
24        Kennedy’s northeast property corner and has grown into and over a portion of the retaining wall.
25        There is substantial fill against the base of the tree, The tree’s root system is negatively impacted
26        by an adjacent sport court and the fill. Additionally, Tree-I’s roots are further undermining the
27        already compromised retaining wall,




          Complaint For NuIsance                              3
                 Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page45 of 66




          1             15.     Tree-2 is located four to five feet north of the retaining wall. There is fill soil
          2     over the northwest root system, The retaining wall is bulging out at adjacent Tree-2, Plaintiffs
          3     are informed and believe, and on that basis allege that if the retaining wall fails it would likely
•         4     undermine Tree-Vs root plate and cause the treeto fail, The combination of root pressure, poor
          5     construction, advancing wafl decay and root disease are combining to make the whole tree
          6     failure more probable,
          7             16.    The man-made, wooden retaining wall is seserely distressed inthe cenfral and
          8     eastern portions of the wall span where the retained soil achieves heights of up to 3 to 4 feet.
          9    This distress consists of failing (leaning) wooden support posts, with maximum downalope tilt of
     10        up to 9-degees from vertical. This location is adjacent the Tree-2. Several of the supportposts
     11        are only shallowly embedded. The base of one post is only 1,0 foot below the ground surface on
     12        the downslope sidetf the wall, The wooden lagging spanning the failing posts is severely rotted
     13        in places and has completely failed in a few areas allowing fill front behind the wall to flow
               through the void created by the failed lagging, During rainstorms water flows generally and
     15        from Defendants’ downspoutsthrbugh and under portions of the wall, indicating a lack of a
               back-of-wail drain and general improper drainage on Defendants’ property.
     17                17.    Plaintiffs are informed and believe, and on that basis allege that due to the
     18        combination of lack of back-of wall drain, the severely tilted wooden snl5ports, rotted and
     19       decayed wood lagging and shallowly embedded support posts, the wall is in a state of failure and
    20        there is a high risk that it will completely fail in the near fidure, Tree-2 is located 5 feet upslope
    21        from the central portion of the distressed wall and relies on artificial fill supported by the failing
    22        wall. Plaintiffs are infonned and believe, and on that basis allege that if the retaining wall fails,
    23        substantial amount of fill will fail along with the wall and flow downslope to the Kennedy’s
    24        property, This would undennine the support for Tree-2 and create a tree-fall hazard,
    25                18.     During 2012, the Kennedys attempted to work with the Daniels to find a solution
    26        to the ‘dñi’easonable risks created by the failing retaining wall and the adjacent trees. Both of the
    27        24-inch Douglas fir trees could fall on people and/or property and in so doing have the potential
    28        for serious property damage and personal injury, The Kennedys provided the Daniels with an



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            Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page46 of 66




      1     arborist report, which inforthed them of the danger posed by the trees. The Defendants have
      2     refused to take any action to remedy the man-made and natural hazards on their property.
      3                                             FIRST CAUSE OF ACTION
                                                          (Nuisance-Safety)
                       19.       Plaintiffs incorporate paragraphs 1 through 18 of this Complaint as though fully
     5
           set forth herein.
     6
                      20,       The retaining wall on defendants’ property is severely distressed, It is failing in
     7.
           several locations and retains a substantial amount of soil fill, Embedded in the fill are two 24-
     B
           inch diameter fir trees. Given the failing condition of the retaining wall and the ongoing damage
     9
           to the retaining wall caused by the root systems of the trees, it is very likely that the wall will fail
 10
           in the near future. Given the slope and the fact that the trees are In fill soil, there is a substantial
 11        ~
 12       ~•,,




                      21.       As to both the man-made retaining wail and the 24-inch diameter fir trees,
 15
           defendants have acted unreasonably by failing to take action to remedy these hazards, which
16
           pose a known and unreasonable risk of harm to plaintiffs ad plaintiffs’ property.
17
                      22.       Unless the defendants are enjoined from maintaining the man-made retaining wall
18
           and adjacent trees in a manner that poses a failure hazard to plaintiffs, plaintiffs will suffer
19
          irreparable injury in that, at a minimum, plaintiffs will continue to be deprived of the reasonable
          use and enjoyment of their property, and worse,
          personal injury or death.
22
                      23.       As a proximate results of the unsafe condition that defendants maintain and refuse
23
          to remedy, plaintiffs have suffered and continue to suffer damages, including but not limited to
                  .                                                                 .      ..   .



          ~~$ft~ln addition, plaintiffs have been and will continue to be damaged b) the loss in value of
25
          their property as a result of such unsafe conditions, Accordingly, plaintiffs are entitled to
27                          ,      .

          recover compensatory damages in an amount to be proved at trial,
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          Complaint For Nnlinnce                                 5
           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page47 of 66




     1             24,        In order to avoid ftirther controversy with defendants, plaintiffs seek an order•
     2     from this, Court requiring ~                                               ~                ~..a
     3    ~ Plaintiffs further request that this Court order that the
     4    costs of the tree-removal and wail construction be borne by the defendants,
     5            25.        Defendants undertook these acts and omissions with a willful and conscious
     6    disregard of the rights and safety of others, including plaintiffs, Accordingly plaintiffs are
     7    entitled to punitive dan~ages.
     B

     9
                                               SECOND CAUSE OF ACTION
                                                     (Declaratory Relief)
 10
                  26,        Plaintiffs incorporate paragraphs 1 thkough 18 of this Complaint as though filly
 11       set forth herein,
12
                  27.        A property owner may not use his property in such a way that damages to a
13        neighboring property is a foreseeable result, or when that use interferes with the neighbors
14        comfortable enjoyment of life or property,
15                28.        A dispute has arisen between the patties, Plaintiffs assert that defendants must
16       repair or replace the failing retaining wall and remove the hazardous trees {n order to ensure that
17       plaintiffs are no longer at risk from landslide or tree failure. Defendants, however, reffise to
18       acknowledge that they have any obligation to replace the retaining wall or remove the frees,
19                29.     Plaintiffs desire a judicial declaration of the parties’ rights and duties, and a ruling
20       as to whether defendants, in order to comply with their legal obligations must replace the
21       retaining wall and remove the trees. This judicial decision is necessary and appropriate at this
22       time in order that plaintiffs may know their rights.        -



23

24                                           THIRD CAUSE OF ACTION
                                                   (Injunctive Relief)
25
                 30.      Plaintiffs incorporate paragraphs 1 through 18 of this Complaint as thdugh fully
26
         set forth herein,
27

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         Comptaiiit For Nufnnce                                6
                    Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page48 of 66




              1                   31.          Plaintiffs are informed and believe, and on that basis allege, that defendants will
              2         continue in the future the pattern of conduct as described in this Complaint unless restrain~d and
          3             enjoinçd by this Court,
          4                       32.         This wrongful conduct of defendants as described above, unless restrained and
          5          enjQined by this Court, will cause great and ireparable damage and harm to plaintiffs in that
          ~         plaintiffs will be at continued risk that defendants’ retaining wall will fail causing a landslide
          7         onto plaintiffs land and/or causing one or bdth of the 24-inch diameter fli trees to fall onto
          a         plaintiffs’ property. These ongoing risks create the probability not just of continued litigation
      9             but of severe property damage, as well as the risk of severe injury or even death.
     10                          33,          Pla tiffs have no adequate remedy at law for the injuries and damages plaintiffs
     at,            haye suffered, and will continue to suffer in the future unless the defendants’ wrongful conduct i
     12             restrained and enjoined because it is, and will be, impossible for plaintiffs to determine the
     za            precise amount of damages, and no               amount of money    can compensate plaintiffs for the injuries
     14            and damages suffered by plaintiffs as a result of defendantj refbsal to maintain the retaining wall
 ~                 and eliminate the risk of tree failure from their property,
 16                           34,            Pl~intiffs therefore seek an injunction requiring defendants to replace the failing
 17                retaining wall and remove the trees. In the alternative, plaintiffs seek an injunction requiring
 as                defendants          to   construct the replacement wall in sucha way that the trees no longer pose a threat
 19                to   plaintiffs’ health and safety, which the ICenneclys are informed and believe is not a realistic
 20               possibility.
21                                                                        PRAYER
22                           WHEREFORE, plaintiffs pray forjudgment as follows:
23                           1.             For a declaration that defenththts’ retaining wall and fir rees cbnstitute an
24                ongoing nuisance and that defendants are to replace the failing wall and remove the trees or
25                construct the wan in such a way that the trees no longer pose a threat to plaintiffs’ health and
26                safety;
27                          2.              For an injunction requiring defendants to replace the failing wall and remove the
28                trees;


              Cornplahit For Nuisance                                         7
           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page49 of 66




     1               3.     For an order that the costs of building the retaining wall and removing the trees
     2    are to be borne by the defendants;
     3            4.        For compensatory damages according to proof;
     4            5.        For general damages for discomfort a~id annoyance, in an amount to be proven at
     s   trial;
     6            6,        For costs;
     7            7.       For punitive damages; and
     a            8.       For such other a~d further relief as the Court may deem proper.
     9
         Dated: February 13, 2013
10

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12                                                By:
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                                                                    for
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         Complaint   For Nukanco                             8
           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page50 of 66




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          SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CRUZ                                            —
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          DENDANTt JENNWER DANIELS

                         ~                                                                         CASENO:
      ~           CASE MANAGEMJj~NT INFORMATION AND SETTING                                              01S0V176241



          ThIscase Is In Santa Cruz County’s Case Management Program, it is the Duty of each party to
          be familiar with the California rules of court and the date, time and place of the first case
          management conference.
          This notice must be served with the summons on all defendants and cross-defendants. Notice
          of any other pending case management conference must be served on subsequently named
          defendants and cross-defendants,


          ATTENTiON DEFENDANT; YOU HAVE 30 DAYS AFTER THE SUMMONS IS SERVED ON
          YOU TO PILE A RESPONSE TO THE COMPLAINT. THE DATE BELOWDOES NQI EXTEND
          THE TIME TO FILE A RESPONSE, SEE THE SUMMONS FOR INSTRUCTIONS FOR
          RE~PoNDiNe TO THE SUMMONS AND COMPLAINT.




    The first Case Management Conference hearing date Is:
    Date: 06117113                                 Time~ 8:29                      Department No.: 4
    Address of the Court:       701 Ocean Street, Santa Cruz, California         Q I Second Street, Watsonville, California

    Telephonic cciiH app earances are provided through Cow/Call to the. court. To make a’7anglnenvs to
    appear at the case 14aizagen;ent Conference by telephone, please call the program aduthilyijato,. ftr
    CourtCall at (310) 572-4670 or (888) 883-6878 at least five (5) court days prior to the healing. DO NOT
    CALL THE COURT.




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                   Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page52 of 66

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                                           APR INFORMATION PACKAGE
                   Included in this packaget

                                    CoverPage

              •        •.     •    1Alflrnatiye Dispute Resolution Progr~pi Notice

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                                    (Stipulation and Order to Attend 3ndzeiniMed1at~oyj or Th Jv~4e Arb)tl atzon)


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                            ALTERNATIVE DISPUTE RESOLUTION PROGRAM NOTICE
                                      SANTA CRUZ SUPERIOR COURT
                   •                       LOCAL RULE 7102(a)
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                  SUPGV.iojz (Rev, 1/2008)                           •   -                                    Page i of 3
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                                                     OR PRIVAfl ARBITRATION
        Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page53 of 66




 TO:      ALL CIVIL LITIGANTS
 RE:      JUDICIAL MEDIATION PROGRAM OF SAI’qTA CRUZ OR OPTION FOR
          PRIVATE ARBITRATION
    Alternate Dispute Resolution (4DR) is a process, other than formal litigation, in which a
 neutral person .assists.the parties inresolvingtheir..dispute. ~SantaCruz County’s ADkprocess
 is Judicial Mediation, if the parties agree to Mediation, it is the policy of this Court to assign
 4ppropriate cases to mediation without making a determination of the value of the qase.
  Approprinte cases will be nasigned to Yudici&l Mediation from the Casb Management
 Conference Calendar. The parties may Stipulate to Mediation prior to the Case Management’
 Conference by written stipulation on local form SUPdV 1012. Case Management Conferehee
Statements and requests for continuanbes should be submitted at least ten days in advance of
the hearing.     ,




FOR MORE E~FORMAflON REGARDING SANTA CRUZ COUNTY’S MEDIATION
PROGRAM, SEE LOCAL RULE 7.1 OR CONTACT TEE CIVIL CALEND~’
DEPAR1Mrn4T ‘(SANTA. dRuz)AT (831) 420.~22OO OR ThE WATSONVILLE BRANCH
AT (831) 786-72d0.                  ‘‘




You may also stipulate to     a private arbitration or mediation s&rvice with the same local
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SUPCV-10l2 (Rev. ]/2008)                                                           Page 2 of3
                                                                              Local Rule 7.1,02
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                                 OR ?BIVATE ARSfl’RAnON
       Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page54 of 66



     ATTORNEY OR PARTY WITHOUT ATTORNEY        MEAt’)!) ~1DDRES~):          TELEPHONENO,:               .   Court Us,   Only



 ATTORNEY POR (NAME):

 SUPERIOR COURT OF CALUTORNIA, COUNTY OF SAflTA ~RTJZ
 C Santa Cruz                 C WatsonvllloErana)i
   701 Ocean Street, Room 110   1 Second Street, Room 300
   Santa Cruz, CA 95060         Watsonville, CA 95076
 Piaintjff/Petftloner:

 Dofeudant/Res~iondo,1t:
               STIPULATION AND ORDER TO ATTEND JUDICIAL MZDIATION                           CASENO,
                                 OR PRIVATE ARBITRATION
                  Must be tlldd 10 dayi before Case Mr~ncgoment Contercnce

FOR GOOD CAUSE as stated in the attached supporting declaration,
CASE MAK4GBMRtq’r CONFERENCE CURIU3NTLYIETPQR: (DATE)___________________
CHECK ONLY ONEBOX:
1.    ( )   The parties stipulate to court ordered mediation,
2.    ( )   The parties atipulate to private mediation or arbitration to be arranged by the parties and completed WithIn 120
            days of the current 0MG date stated abo~’e. The.parties agree that such process shall be a good faith attempt
            to resolve the case.
SIGNATURES ‘0I~ COUNSEL:
                                                        TYPE NAME: _____________________________________
DATE:       ___________________________                 AUORNEY P0R~        _____________________________



                                                        WP~ NAME: ____________________________________
OATS:                    .                              ATTORNEY FOR: _______________________________

D ADDITIONAL SIGNATURES IN ATrAOHMENT “A”

BASED ON THE STIPULATION OF THE PARTIES, TH~ SUPPORTING DECLARATION,
AND FINDING GOOD CAUSE, THE APPLICA11ON iS HERESY GRANTED
C SET FOR JUDICIAL MEDIATION ON:                         AT:
                                          ________________________                                               amio,m.
C VACATE 0MG CURRENTLY SET FOR:             _______________________               AT:                            s.mip,rn,


Date:    ____________________________


                                                                     JUDGE OF THE SUPERIOR COURT~


     SUPCV-j 012 (Rev. 1)2008)                                                                                  Page,3 of 3
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                                            OR PiUVAfl ARBITRATION
Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page55 of 66




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                                             EXHIBIT C
 S NJ RCase5:14-cv-00824-LHK
         D E NJ faQ NJ ~                     Document1-1 Filed02/24/14 Page56 of 66
                                                            SNR Denton US LLP
                                                            525 Market Street
                                                                                            Michael Barnes
                                                                                            Partner
                                                            26th Floor                      mlchael.barnes@snrdenton.ccm
                                                          - San Francisco, CA 941 05-2708   0 +1 415 882 5007
                  -.                                        USA                             T +1 4158825000
                                                                                            F +14158820300
                                                                                            snrdenton.con,



 March22,2013
                              \

 VIA CERTIFIED MAIL

 Mark M. Daniels
 Jenny K. Daniels
 123 Ponderosa Drive
 Santa Cruz, CA 95060

          Re:    Claim No.:        027 838 327 8 NEL
                 Insureds:         Mark M. Daniels and Jenny K. Daniels
                 Action:           Kennedy V. Daniels
                                   Santa Cruz County Superior Court
                                   Case No. CV 176241
 Dear Mr. and Mrs. Daniels:

 As you know, you tendered your defense in the above-referenced action to Allstate Insurance Company
 under your homeowners policy. Allstate, in turn, engaged this firm to pro’~lde it with coverage advice
 concerning its obligations to you. The purpose of this letter Is to inform you that Allstate believes Its policy
 provides no coverage for this suit for reasons discussed below. Should you disagree with our analysis or
 have additional information that you believe would support a different result, please let us know at your
 earliest convenience so Allstate can reconsider its position. Unless and unti[ it informs you otherwise,
 however you should understand that Allstate cannot defend or indemnity you In this suit and that you’
 should make other arrangements to protect your legal interests.

 FACTUAL ALLEGATIONS

The subject matter of your claim to Allstate is a lawsuit brought by yourne1~t,btrs, Joyce and Edward
 Kennedy, concerning the retaining wall on your property. According to the complaint, plaintiffs reside at
 I 1~ Ponderosa Court a property adjacent to your own. Plaintiffs allege that the retaining wall on your
property is severely distressed, is leaning in several places, and is retaining a substantial amount of soil
fill. The complaint alleges that two 24-inch diameter trees are embedded in that fill. Given the state of
the wall and the location of the trees, plaintiffs contend there is a substantial risk that the wall will fail in
the near future and that the trees will fall as well, causing injury to plaintiffs and their ptoperty. The
complaint alleges that you have failed to take reasonable measures to alleviate those risks.

Based on those allegations, plaintiffs assert causes of action for Nuisance, Declaratory Relief and
Injunctive Relief. Their complaint seeks a declaration that your retaining wall constitutes an ongoing
nuisance and an injunction requiring you to replace the wall and remove the trees. In addition, plaintiffs
s~ek compensatory and punitive damages.




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           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page57 of 66
                                                            Mark M. Daniels
                                                            Jenny K. Daniels
                                                            Kennedy v. Daniels
                                                            March 22, 2013
                                                            Page2
   INSURANcE INFORMATION

   According to its records, Allstate insures you under homeowners policy number 067064603. That policy
   insures the residence at 123 Ponderosa Drive in Santa Cruz, and proyldes liability coverage of $100,000.

   DISCUSSION

   You have initially sought a defense from Allstate in connection with the pending action. The duty to
   defend under a liability policy arises when the Insured Is sued for damages that potentially fall within the
   policy’s coyerage, State Farm Fire & Gas. Co. v. Drasin, 152 Cal. App. 3d 864, 868-869 (1984), The
  determinationof an insurer’s defense obligation is initially made by comparing the allegations of the
  complaint with the terms of the policy. Horace Mann Ins. Co. v. Barbara B., 4 Cal. 4th 1076; 1081 (1993).
  Facts outside the complaint also can give rise to, or defeat the duty to defend. Montrose Chem. Corp. v.
  Superior Court, 6 Cal. 4111 287, 298-299(1993). Such facts must actually exist, however; a duty to defend
  cannot be based upon speculation over what the plaintiff hypothetically could allege. Olympic Club v.
  Interested Underwilters at Upyd’s, London, 991 F.2d 497, 503 (Qth Cir. 1993); Hurley Construction Co. v.
  State Farm Fire & Gas. Co., 10 Cal. App. 4th ~ 538 (1992). While an insurer must defend if any claim
  seeks covered damages, even though that claim is in fact false, it has no duty to defend a
  noncovered suit whether its allegations are true or false. Taub v, First State Ins, Co., 44 Cal. App. 4th
 811, 821-22 (1996); North American Building Maintenance, Inc. v. Fireman’s Fund Ins. Co., 137 Cal.
 App. 4~ 627, 839 (2008). Where the facts are not in dispute, the insured’s assertion of a plausible
 coverage argument does not, by itself, reveal a potential for coverage. Friedman Prof. Manaaement~p~
 Inc. v. Norcal Mutual Ins.. Co.. 120Cal. App. 4~ 17, 35 (2004) (‘The potentiality rule lbr the duty to defend
 is pegged to the possibilIty of actual Indemnity coverage, not the mere existence of a plausible
 argument”). Where the complaint asserts no covered liability on Its face, the insurer may properly decline
 coverage without further investigation. Amer. Intl. Bank v. Fid, & Dog, Co. of Md., 49 Cal. App. 41111558,
 1571 (1996).

 With these principles in mind, we have compared the terms of Allstate’s policy with the allegations of the
 complaint and have concluded the pending suit seeks no covered relief for the following reasons:

          The Policy Only Covers “Accidents”

 The first reason there is no coverage for this suit is that Allstate’s policy only covers “accidents,” and the
 subject action is not premised on an “accident.”

 The liability portion of Allstate’s homeowners policy covers “FamIly LlabIlit~i Protection” as follows:

                  Subject to the terms, conditions and limitations of this policy, Allstate will
                  pay damages which an Insured person becomes legally obligated to
                 pay because of bodily injury or property damage arising from an
                 occurrence to which this policy applies, and is covered by this part of
                 the policy.

That coverage entitles an insured person to receive a legal defense, at Allstate’s expense, in suits for
covered dama9es as follows;


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           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page58 of 66
                                                            Mark M. Daniels
                                                            Jenny K. Daniels
                                                            Kennedy v. Daniels
                                                            March 22, 2013
                                                            Page3

                   We may investigate or settle any claim or suit for covered damages
                   against an insured person; If an insured person is sued for these
                   damages, we will provide a defense with counsel of our choice, even if
                   the allegations are groundless, false or fraudulent. We are not obligated
                   to pay any claim or judgment after we have exhausted our limit of
                   liability.

  Occurrence’ is defined as:

                   [A}n accident, including continuous or repeated exposure to substantially
                   the same general harmful conditions during the policy period, resulting in
                   bodily injury or property damage.

 Where a policy defines “occurrencw’ as Allstate’s does, the term In effect means “accident.” Collin v.
 American Empire Ins. Co., 21 Cal. App. 4th 787, 805 (1994). Accordingly, the policy only covers liability
 resulting from an “accidental” event.

   Dehberate conduct is not ‘accidental” under California law. Royal Globe Ins. Co. v. Whitaker, 181 Cal.
  App. 3d 532, 537(1986). This is true even if it was undertaken without any intent to harm. Delgado v,
  Inferins. Exch. of the Auto. Club of So. Cal., 47 Cal. 4th 302, 314 (2009) (no “accident” occurred where
  the insured person deliberately struàk another person, even though he claims to have acted in self-
  defense and harbored no animosity toward the victim); Fire ins. Exch, v. Superior Court (9ourguignon),
  181 Cal. App. 4th 388, 396 (2010) (“Accepting the finsureds’] contention that they believed they owned
  the five and one-half foot strip of land and had the legal right to build on it, the act of donstruction tof their
  home on their neighbor’s land) was Intentional and not an accident even though they acted under a
  mistaken belief that they had the right to do so,”); State Farm Gen. ins. Co. v. JT’s Frames: Inc., 181 Cal.
 App. 4th 429, 450 (hoidlng transmission of faxes was not “accidental” irrespective of the insured’s reason
 for doing so, as “[tihe focus Is not on whether the transmitter intended to violate the TCPA or any
 recognized right of the recipient, but on whether the transmitter intentionally sent the fax.”); Swain v. Cal.
 Cas, ins, Co., 99 Cal, App. 4th 1, 10 (2002) (insured’s intentional act was not “accidental” simply because
 he believed it was legally warranted); Colhn. 21 Cal. App, 4th at 810 (term accident refers to “the
 insurecrs intent to commit the aãt giving rise to liability, as opposed to his or l~er intent to cause the
 consequences of that act.”); fibreboard Corn. v. Hartford Mo. & indem. Co., 16 Cal. App. 4th492, 510-
 511(1993) (any consequencesof “conscious decisionmak ing” are not accidental); Shell Oil Co. v.
Winterthur Swiss ins. Co., 12 Cal. App. 4th 715, 750-751 (1993) (term “accident” refers to act causing
damage, not to damage itself); Lipson v. Jordache Enterprises, Inc., 9 Ca): App. 4th 151, 159 (1992) (“any
intentional conduct   .   .even if due to a misunderstanding, is not covered as an occurrence”); Merced
                              .


Mutual Ins. Co. v. Mendez, 213 Cal. App. 3d 41, 50 (1989) (“where the insured intended all of the acts
that resulted in the victim’s injury, the event may not be deemed an ‘accident’ merelS’ because the insured
did not intend to cause injury.”); Hogan, 3 Cal. 3d at 560 (conduct that ls”balcuiated and deliberate” is not
an accident, “whatever the motivation.”).

Here, there is no suggestion that your actions were accidental. Rather, the complaint alleges that a
retaining wall on your property has gradually begun to fail and is in danger Of collapsing, yet you have
refused to take corrective action despite plaintiffs’ insistence that you do so. The gradual deterioration of


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                 Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page59 of 66
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                                                                                           Jenny K. Daniels~
                                                                                           Kennedy V. Daniels
                                                                                           March 22, 2013
                                                                                           Page4
        a wall over time would not be an “accident” and, even if it were, the refusal to take remedial action
        certainly would not.

                No Covered Injuiy

        in addition to the “occurrence” requirement, the policy only covers two specified types of injury, neither of
        which is at issue in the pending action.

        In particular, your homeowners policy covers “bodily injury” and “property damage,” defined in relevant
        part as follows:

                        “Bodily injury” means physical harm to the body, including sickness or
                                        —


                        disease, and resulting death..

                        “Property damag&’ means physical injury to or destruction of tangible
                                             —


                        property, including loss of itsuse resulting from such physical injury or
                        destruction.
      Here, the complaint alleges no “property damage.” As the court recognized In Wallerv. Truck ins.
     Exch., Inc., 11 Cal. 4th 1, 19(1995), economic losses are not covered by a general liability policy because
     they do not involve physical injury to tangible property.. In Kazi V. State Farm Fire & Cas. Co., 24 Cal. 4~”
     871, 887 (2001), the California Supreme Court established that interference with a neighbors easement
     rights did not give rise to a claim for “property damage,” because an easement is an Intangible property
     right See also Gunderson v. Fire ins. Exchange, 37 Cal. App. 41111106, 1115 (1995) (dispute over the
     placement and use of a gate did not involve “property damage”), ~jfln, 21. Cal. App. 4th.at 787 (dispute
     over ownership of property did not implicate “property damag& coverage); Cunningham v. Universal
     Underw~iters, 98 Cal. App. 4tr~ 1141, 1155 (2002) (“Beus’s claimed loss concerned solely an iñtangible
     property right -H the interference with its right to possession of real property under the parties’ lease:),
    The complaint merely alleges the threat of f~j~~qj~ property damage if you fail to take prophylactic action.
    Plaintiffs allege no actual property damage, nor do they seek compensation for any property damage.
    City of Lacuna Beach v. Mead Reins. Corn., 226 Cal. App. 3d 822, 834(1990) (suit to force insured to
    take action to prevent future landslide did not seek damages on account of property damage).

  Neither does the complaint allege “bodily injury.” First the complaint alleges only the Possibili~y of future
  bodily injury should the wail fail. No actual bodily injury has been sustained. Second, under California
 law, where a suit is premised on economic losses, an insurer does not have a duty to defend even where
 the plaintiff claims to have suffered a derivative emotional or physical injury as a result of the economic
 loss. ~ Amer. Intl. Bank v. Fid. And Dep. Co. of Md., 49 Cal. App. 4th 1558, 1570 (1996) (“the fact that.
•   intangible losses cause the victim to later suffer emotional distress and attendant physical injury cannot
    .


be used to convert an uncovered claim for economic loss into a covered claim for bodily injury:); Miller v.
Westem GeneratAgency Inc., 41 CaL App. 4th 1144, 1151(1996) (no coverage for emotional distress
arising from ñoncoverecj economic losses); McLaughiin v. National Union Fire Ins. Co., 23 Cal. App. 4°’
1132, 1150 (1994) (no independent bodily injury coverage for physical distress induced by an uncovered
economic loss); Keatlnci v. National Union Firej~, 995 F.2d 154, 156 (9°’ Cir. 1993) (no coverage for
“emotional and physical distress, and impairment of health” resulting from securities fraud); ~ ii
Cal. 4°’ at 23 (“These poiicies were never intended to cover emotional distress damages that flow from an


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             Case5:14-cv-00824-LHK                 Document1-1 Filed02/24/14 Page60 of 66
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                                                                                             Jenny K. Daniels
                                                                                              Kennedy v, Daniels
                                                                                              March 22, 2013
                                                                                              Page5
           uncovered ‘occurrence,’ and the parties could not reasonably have ~xpected that coverage would be
           expanded merely because a claim of emotional or physical distress is alleged as a result of the economic
           loss.”); ~ ~r~yJIlj~v. OqIdweli Bartker pesid~nti?l Brokers Co,, 143 Cat App. 4th761 (2006)
           (assertion of emotional and physical injury did not convert contract claim into a ‘bodily injury” suit for
          purposes of avoiding arbitration clause); Stellar v. State Farm General lns,Qg, 157 Cal. App. 41h 1498
          (2007) (“regardless of whether there were allegations or evidence of physical injury sufficient to constitute
          ‘bodily injury’ under the policy, the undisputed evidenca established that such injury stemmed from an
          underlying claim that was not covered by the policy.”) As a.result, any injury to plaintiffs themselves1
          whether emotional or physical, is not a 1,odl(y Injury” within the meaning of your homeowners policy.

                   The Policy Excludes Coverage For Damage to Property Owned or Used by An Insured

          Further, we believe there Is no coverage for this suit because your policy excludes damage to property
          you own, use, occupy or care for.

          Exclusions 2 and 14 in Allstate’s homeowners policy provide that:

                  2.      We do not cover bodily Injury to an Insured person or property
                          damage ta property owned by an insured person whenever any behefit
                          of this coverage would accrue directly or indirectly to an insured person.

                  14.     We do not cover property damage tb property rented to, occupied or
                          used by or in the care of an insured person. This exclusion does not
                          apply if the property damage Is caused by fire, explosion or smoke.
         Such exclusion~ bar coverage for damage to your own property or property in your care, custody or
         control. ~~Westem World Ins. Co. y. Dapg 765 F. Supp, loll; 1014 (ED. Cal. 1991) (similar
        exclusion precluded coverage for environmental contamination whichoccu~cj on property rented to the
        insured); ~bell Oil Co. v. Winterthur Swiss Ins, Co., 12 Cal. App. 4th 715, 769 (1993) (exclusion for
        damage to property in the insured’s care, custody or control applied to soil and water contamination on
        property it leased); Allstate Ins, Co. V. Ch~~y, 804 F. Supp~ 1219, 1223 (ltD. Cal. 1992) (claims for
        negligent repair, maintenance and construction of Insured’s own property not covered); QitRepubli~,~
        Co. v. Suoerjor Court, 66 Cal. App. 4th 128, 151 (1998) (“On its face, this exclusion unambiguously
        precludes coverage for any claim for property damage to property occupied or rented to the [insuredsj.”)

        Here~ if any property was “damaged,” it was property that you occupied, used or cared for. In particular,
        the failing retaining wall is located on your property, according to the complaint as are the subject trees.
        Because the policy excludes damage to property the insured owns, occupies, uses or cares for, these
        exclusions provide an additional reason. why there is no coverage for this action.



    Although we believe the issues discussed above preclude any possibility of coverage, Allstate reserves
    all rights available under its policy, at law, or in equity, whether mentioned In this letter or not including
    the~right to raise additional coverage defenses in the future.    ~   State Farm Fire & Cas. Co. v. ~ 24
    Cal. App, 4th 1619, 1627 (1924) (recognizing insurers “globar reservation of rights). Without waiving any


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           Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page61 of 66
                                                                                       Mark M. Daniels
                                                                                       Jenny K. Daniels
                                                                                       Kennedy v. Daniels
                                                                                       March 22, 2013
                                                                                       Page6
 rights or limiting Allstate’s reservation, I note here that (1) the policy’only covers “damages,” not other
 forms of relief such as equitable relief and attorneys’ fees;” (2) the policy excludes injury or damage that
 would reasonably be expected to result from your intentional actions, and (3) punitive damages are
 uninsurable in California as a matter of law.

 CoNcLusioN

 For the foregoing reasons, we believe Allstate’s policy provides no coverage for the suit against you. If
 you disagree with our analysis, you may inform us of any additional information or considerations you
 believe would support a different result, Alternatively, if you believe Allstate has unfairly denied coverage,
 you may request assistance from the California Department of Insurance by calling 1-800-927-HELP or
 by writing to the Consumer Communications Bureau, Department of Insurance, 300 South Spring Street,
 South Tower, Los Angeles, California 90013.

 Please let us know if you have any questions concerning the foregoing




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                       Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page62 of 66
     • SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CRUZ                                                     For Coon Use   Only
      Santa Cruz Branch                                                ~VatsonviIIe Branch          -

      701 Ocean Street Room 110                                       1 Second Street Room 300
      Santa Cruz, CA 95060                                            Watsonville, CA 95076

      PLAINTIFF:       JENNY K. DANIELS                                                                       iAN 1 S 2014
      DEFENDANT: ALLSTATE INS URANCE COMPA NY
                                                                                                                                    I’


                                                                                                        CASE NO:
                  CASE MANAGEMENT INFORMATION AND SETTING                                                     CISCVI 78512



       This case is in Santa Cruz Countys Case Management Program. It is the duty of each party to
       be familiar with the California Rules of Court and the date, time and place of the first case
       management conference.

       This notice must be served with the summons on all defendants and cross-defendants. Notice
       of any other pending case management conference must be served on subsequently named
       defendants and cross-defendants.


      ATTENTION DEFENDANT: YOU HAVE 30 DAYS AFTER THE SUMMONS IS SERVED ON
      YOU TO FILE A WRITTEN RESPONSE TO THE COMPLAINT WITH THE COURT. THE DATE
      BELOW DOES NOT EXTEND THE TIME TO FILE A RESPONSE. SEE THE SUMMONS FOR
      INSTRUCTIONS FOR RESPONDING TO THE SUMMONS AND COMPLAINT.



    The first Case Management Conference hearing date is:
    Date: 05116114                                 Time: 8:29                          Department No.:             5
    Address of the Court:     701 Ocean Street, Santa Cruz, California            LI   1 Second Street, Watsonville, California


    Telephonic court appearances are provided through C’ourtC’all to the court. To make arrangments to
    appear at the Case Management Conference by telephone, please call the program admh,istrator for
    CourtCall at (310) 572-4670 or (888) 882-6878 at least five (5) court days prior to the hearing. DO NOT
    CALL THE COURT.

    If you are in need of regal advice or legal information on how to proceed in your case you may call or visit the following
    resources:
        1. Santa Cruz County Bar Association Lawyer Referral Service: Phone 831-425-4755 (Fee based service).
        2. Santa Cruz County Law Library: 701 Ocean Street, Room 70 Basement1 Santa Cruz, CA 95060
           Phone 831-454-2205, w~w.Iawlibrary.org, for hours and other resources.
        3. Santa Cruz Superior Court Self Help Center: 1 Second Street, Room 301, Watsonville, CA 95076.
           Phone 831-786-7200, option 4, www.santacruzcourt.org, for hours and workshop options.




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          Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page63 of 66

                       APR INFORMATIoN PACKAGE
  Included in this package;

            •   Cover Page

            •   Alternative Dispute Resolution Program Notice

            •   Local Form SUPCV 1012
                (Stipulation and Order to Attend Judicial Mediation or Private Arbitration)


         ATTENTION PLAINTIFFS/cRoss..CoMpLAJN~Ts
            PLAINTIFFS SHALL SERVE A COPY OF TIllS ADR
            INFORMATION PACKAGE ON EACH DEFENDANT
        ALONG WITH THE COMPLAINT. CROSS-COMPLAI~~&j~~5
          SHALL SERVE A COPY OF THIS ADR INFORMATION
           PACKAGE ON ANY NEW PARTIES TO THE ACTION
                ALONG WITH THE CROSS-COMPLAINT
                           (CRC 3.221)




     ALTERNATIVE DISPUTE RESOLUTION PROGRAM NOTICE
               SANTA CRUZ SUPERIOR COURT
                    LOCAL RULE 711.02(a)

SUPCV-1012 (Rev. 1/2008)                                                               Page 1 of 3
                                                                                  Local Rule 7.1.02
                 STIPULATION AND ORDER TO ATTEND TUDICLa MEDIATION
                               OR PRTVATE ARBITRATION
          Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page64 of 66



 TO:     ALL CIVIL LITIGANTS
RE:      JUDICIAL MEDIATION PROGRAM OF SANTA CRUZ OR OPTION FOR
         PRIVATE ARBITRATION
   Alternate Dispute Resolution (ADR) is a process, other than formal litigation, in which a
neutral person assists the parties in resolving their dispute. Santa Cruz County’s ADR process
is Judicial Mediation. If the parties agree to Mediation, it is the policy of this Court to assign
appropriate cases to mediation without making a detennination of the value of the case.

  Appropriate cases will be assigned to Judicial Mediation from the Case Management
Conference Calendar. The parties may stipulate to Mediation prior to the Case Management
Conference by written stipulation on local form SUPCV 1012. Case Management Conference
Statements and requests for continuances should be submitted at least ten days in advance of
the hearing.
FOR MORE INFORMATION REGARDTNG SANTA CRUZ COUNTY’S MEDIATION
PROGRAM, SEE LOCAL RULE 7.1 OR CONTACT THE CIVIL CALENDAR
DEPARTMENT (SANTA CRUZ) AT (831) 420-2200 OR THE WATSONVILLE BRANCH
AT (831) 786-7200.
You may also stipulate to use a private arbitration or mediation service with the same local
form 1012. This local form is required to ensure that the case is tracked properly by Court
staff.




 SUPCV-1012 (Rev. 1/2008)                                                          Page 2 of 3
                                                                      LocalRule7.1.02
                  STIPULATION AND ORDER TO ATTEND JUI)ICIAJ. MEDIATION
                                OR PRIVATE ARBITRATION
                   Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page65 of 66
     ATTORNEY OR PARTY WITHOUT ATTORNEY (NAME AND ADDRESS):               TELEPHONE NO.:
                                                                                                       For Court Use Only




     ATTORNEY FOR (NAME):

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CRUZ
     ~ Santa Cruz                 I Watsonvjlle Branch
       701 Ocean Street, Room 110   1 Second Street, Room 300
       Santa Cruz, CA 95060         Watsonville, CA 95076

 PlaintifEpetjtjoner:

 Defendant/Respondent:
               STIPULATION AND ORDER TO ATTEND JUDICIAL MEDIATION                           CASE NO.
                             OR PRIVATE ARBITRATION
                   Must be filed 10 days before Case Management Conference

FOR GOOD CAUSE as stated in the attached supporting declaration,
CASE MANAGEMENT CONFERENCE CURRENTLY SET FOR: (DATE)______________________
CHECK ONLY ONE BOX:
1.    ( )   The parties stipulate to court ordered mediation.
2.    ( )   The parties stipulate to private mediation or arbitration, to be arranged by the parties and completed within 120
            days of the current CMC date stated above. The parties agree that such process shall be a good faith attempt
            to resolve the case.
SIGNATURES OF COUNSEL:
____________________________________                    TYPE NAME:   ____________________________________


DATE:       _____________________________               ATTORNEY FOR:     _______________________________



____________________________________                   TYPE NAME:    ____________________________________


DATE:       ______________________________             ATTORNEY FOR:      ________________________________




C ADDITIONAL SIGNATURES IN ATTACHMENT “A”
                                           ORDER
BASED ON THE STIPULATION OF THE PARTIES, THE SUPPORTING DECLARATION,
AND FINDING GOOD CAUSE, THE APPLICATION IS HEREBY GRANTED
C SET FOR JUDICIAL MEDIATION ON:          _________________________              AT:                            am/p.m.
C VACATE CMC CURRENTLY SET FOR:             _______________________              AT:                            am/p.m.



Date:    ____________________________


                                                                JUDGE OF THE SUPERIOR COURT



     SUPCV-1012 (Rev. 1/2008)                                                                                  Page 3 of 3
                                                                               Local Rule 7.1.02
                            STIPULATION AND ORDER TO ATTEND JUI)ICIAL MEDIATION
                                          OR PRIVATE ARBITRATION
                       Case5:14-cv-00824-LHK Document1-1 Filed02/24/14 Page66 of 66



                                                                                                                                                  P05-015
     AYr0RNEY OR PARTY VKrHOuT ATTORNEY (Name. State Bar number. and address):                                                FOR COURT USE ONLY
    Edward W. Newman, SB 45688
  “Newman & Marcus, a Law Corporation
    331 Capitola Avenue, Ste. K
    Capitola, California 95010
           TELEPHONE NO.: 831-476-6622                                 FAX NO. (OpIionaI):
     E.MAIL ADDRESS (OpIionat):
         ATTORNEY FOR (Name):     Jenny K. Daniels, Mark M. Daniels

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Cruz
         STREET ADDRESS: 70 1 Ocean Street
         MAILING AODRESS: same
        cITYANDZIPcOOE: Santa Cruz, California 95060
            BRANCH NAME: Santa Cruz



         PLAINTIFF/PETITIONER:         Jenny K, Daniels, ci al,

     DEFENDANT/RESPONDENT: Allstate Insurance Company, et al.
                                                                                                                     CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                               CISCv 178512


 TO (insert name of party being served~:Michael Barnes, Esg. on behalf of Allstate Insurance Company


                                                                    NOTICE
     The Summons and other documents identified below are being served pursuant to Section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.

     Date of mailing:      January 2 I, 201 4

    EDWARD W. NEWMAN, 1350.                                                                  ~_______________________

                                    (TYPE OR PRINT NAME)                                       (SIGNATuRE OF SENDER—MUST NOT SE A PARTY IN THIS CASE)


                                                           ACKNOWLEDGMENT OF RECEIPT
     This acknowledges receipt of (to be completed by sender before mailing):
     1. /      A copy of the summons and of the complaint.
     2. ~ Other (specify):
                   Second copy of the Notice and Acknowledgment of Receipt-Civil; Case Management Information
                   and Setting; ADR Information Package; self-addressed, stamped envelope to Newman and
                   Marcus, a Law Corporation

    (To be completed by recipient):

    Date this form is signed:


                                (~ ~
                (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY.
                       ON W-IOSE BEHALF THIS FORM IS SIGNED)




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Fom1Adop~dforMandawryUee                  NOTICE AND ACKNOWLEDGMENT OF RECEIPT                             —   CIVIL                     Code of Civil Procedure,
P05’DlS Rev. Janua’y I, 2005J                                                                                                                 §~ 415.30, 417.10
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